俰AO 435KS                                   Administrative Office of the United States Courts                        FOR COURT USE ONLY
(Rev. 01/16)
                                                                                                                     DUE DATE:
                                                             TRANSCRIPT ORDER
Read Instructions on Next Page
1. Name                                                                       2. Phone Number                        3. Date
   Nicholas J. Zluticky                                                             816-691-3278                          04/30/2018
4. Mailing Address                                                            5. City                                6. State           7. Zip Code
   1201 Walnut, Suite 2700                                                          Kansas City                        MO                    64106
8. Case Number                          9. Judge                                                      Dates of Proceedings
   16-21142                             Judge Robert D. Berger                10. From      04/27/2018           11. To     04/27/2018
12. Case Name                                                                                        Location of Proceedings
   In re John Q. Hammons Fall 2006, LLC et al.                                13. City      Kansas City          14. State  Kansas
15. Order for
    Appeal                                  Criminal                                Criminal Justice Act                   Bankruptcy
   Non-appeal                               Civil                                   In Forma Pauperis                      Other (Specify)

16. Transcript Requested (Specify Portion(s) and Date(s) of Proceeding(s) for Which Transcript Is Requested)

               Portions                                  Date(s)                           Portion(s)                              Date(s)
   Opening Statement (Plaintiff)                                                    Testimony (Specify Witness)
   Opening Statement (Defendant)
   Closing Argument (Plaintiff)                                                     Pre-trial Proceeding (Specify)
   Closing Argument (Defendant)
   Opinion of Court                                                                 Other (Specify)                             04/27/2018
                                                                              entire hearing
                                                                        17. Order
                            Original                          Quantity of      No. Of Pages
  Category            (Includes Free Copy       First Copy                                        Price Per Page                    Costs
                         For the Court)
                                                             Additional Cps      Estimate

   Ordinary

   14-Day

  Expedited

     Daily

    Hourly
                    CERTIFICATION (18. & 19.)
        By Signing Below, I Certify That I Will Pay All Charges                           Estimate Total
                   upon completion of the order.
18. Signature                                              Date               Processed by
   /s/ Nicholas J. Zluticky                                  04/30/2018
19. Contact Email Address                                                     Phone Number
   nicholas.zluticky@stinson.com
Transcript to Be Prepared by                                                  Court Address

                                                                                161 U.S. Courthouse
                                                                                500 State Ave
                                                                                Kansas City KS 66101
                                                                                (913) 735-2110

                                                Date               By
Order Received
Deposit Paid                                                                  Deposit Paid

Transcript Ordered                                                            Total Charges

Transcript Received                                                           Less Deposit
Ordering Party Notified
                                                                              Total Refunded
To Pick up Transcript
Party Received Transcript                                                     Total Due




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AO 435KS
(Rev. 01/16)                                          INSTRUCTIONS
                                                        GENERAL

Use. Use this form to order transcript of proceedings. Complete a separate order form for each case number and
date(s) for which transcript is ordered.

Completion. Complete Items 1-19. Do not complete shaded areas which are reserved for the court’s use.

Order Copy. Keep a copy for your records.

Electronically File, Mail or Deliver to the Court. The completed form should typically be electronically filed using
CM.ECF. If you are not authorized to file documents electronically then mail or deliver the original and one copy to the
Clerk of Court.

Deposit Fee. The transcriptionist will notify you of the required deposit fee amount, which m be mailed or delivered to
the court. Upon receipt of the deposit, the court will process the order.

Deliver Time. Delivery time is computed from the date the deposit fee is received or for transcripts ordered by the
federal government from the date the signed order form is received.

Completion of Order. The court will notify you when the transcript is completed.

Balance Due. If the deposit fee was insufficient to cover all charges, the transcriptionist will notify you of the balance
due which must be paid prior to receiving the completed order.

                                                         SPECIFIC

Items 1-19.    These items should always be completed.
Item 8.        Only one case number may be listed per order.
Item 15.       Place an “X” in each box that applies.
Item 16.       Place an “X” in the box for each portion requested. List specific date(s) of the proceedings for which
               transcript is requested. Be sure that the description is clearly written to facilitate processing. Orders may
               be placed for as few pages of transcript as are needed.
Item. 17.      Categories. There are five (5) categories of transcripts which may be ordered. These are:
                        Ordinary. A transcript to be delivered within thirty (30) calendar days after receipt of an order.
                        (Order is considered received upon receipt of the deposit.)
                        14-Day. A transcript to be delivered within fourteen (14) calendar days after receipt of an order.
                        Expedited. A transcript to be delivered within seven (7) calendar days after receipt of an order.
                        Daily. A transcript to be delivered following adjournment and prior to the normal opening hour of
                        the court on the following morning whether or not it actually is a court day.
                        Hourly. A transcript of proceedings ordered under unusual circumstances to be delivered within
                        two (2) hours.

NOTE: Full price may be charged only if the transcript is delivered within the required time frame. For example, if an
order for expedited transcript is not completed and delivered within seven (7) calendar days, payment would be at the
14-day delivery rate, and if not completed and delivered within fourteen (14) calendar days, payment would be at the
ordinary rate.

                       Ordering. Place an “X” in each box that applies. Indicate the number of additional copies ordered.
                       Original. Original typing of the transcript. An original must be ordered and prepared prior to the
                       availability of copies. The original fee is charged only once. The fee for the original includes the
                       free copy for the court.
                       First Copy. First copy of the transcript after the original has been prepared. All parties ordering
                       copies must pay this rate for the first copy ordered.
                       Additional Copies. All other copies of the transcript ordered by the same party.
Item 18.               Sign and date in this space to certify that you will pay all charges. (This includes the deposit plus
                       any additional charges.)
Item 19.               Enter contact email address.

Shaded Area. Reserved for the court’s use.


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